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                                            RECORD NO. 13-4576

                                                       In The
              United States Court of Appeals
                                          For The Fourth Circuit




                           UNITED STATES OF AMERICA,
                                                                                     Plaintiff – Appellee,


                                                            v.




                                  JOHN STUART DOWELL,
                                                                                     Defendant – Appellant.



           ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          AT HARRISONBURG


                                         BRIEF OF APPELLANT




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                                STATEMENT OF JURISDICTION

               The District Court had jurisdiction over this federal criminal case pursuant to

        18 U.S.C. § 3231. This appeal is from the final judgment of the district court

        entered on July 25, 2013 (J.A. 1 324) and an Amended Final Judgment of the

        district court entered on October 30, 2013. (J.A. 1 324A) Notice of Appeal was

        filed on August 1, 2013. (J.A. 1 332) Jurisdiction is based on 28 U.S.C. § 1291

        and 18 U.S.C. § 3742. (references to the Joint Appendix are denoted as

        “J.A. _____”)

                                      SUMMARY OF ISSUES

        I.     WHETHER THE IMPOSITION OF A 960 MONTHS (80 YEAR)
               SENTENCE UNDER THE CHILD PORNOGRAPHY SENTENCING
               GUIDELINES ON A DEFENDANT WITH NO PRIOR CRIMINAL
               HISTORY VIOLATES THE EIGHTH AMENDMENT TO THE UNITED
               STATES CONSTITUTION?

        II.    WHETHER THE IMPOSTION OF A 960 MONTH (80 YEARS)
               SENTENCE UNDER THE CHILD PORNOGRAPHY SENTENCING
               GUIDELINES ON A DEFENDANT WITH NO PRIOR CRIMINAL
               HISTORY FAILS TO COMPLY WITH THE OBJECTIVES OF THE
               FEDERAL SENTENCING STATUTE UNDER 18 U.S.C. § 3553?

        III.   WHETHER THE IMPOSITION OF A 5 POINT ENHANCEMENT FOR
               ENGAGING IN A PATTERN OF ACTIVITY OF SEXUAL ABUSE
               UNDER SECTION 2G2.2(b)(5) OF THE UNITED STATES
               SENTENCING GUIDELINES AND AN ADDITIONAL 5 POINT
               ENHANCEMENT UNDER SECTION 4B2.5(5)(1) CONSTITUTES
               IMPERMISSIBLE DOUBLE COUNTING UNDER THE GUIDELINES?




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        IV.   WHETHER THE IMPOSITION OF A 2 POINT ENHANCEMENT FOR A
              “VULNERABLE VICTIM” UNDER SECTION 3A1.1(b)(1) OF THE
              UNITED STATES SENTENCING GUIDELINES IS IMPERMISSIBLE
              WHEN A 4 POINT ENHANCEMENTN HAS ALREADY BEEN
              APPLIED ON COUNTS 1 THROUGH 10 UNDER SECTION
              2G2.1(b)(1)(A) AND A 2 POINT ENHANCEMENT HAS ALREADY
              BEEN APPLIED FOR COUNT 13 UNDER SECTION 2G2.2(b)(2)?

                                     STATEMENT OF CASE

              John Stuart Dowell was indicted on December 11, 2011 for Production of

        Child Pornography in violation of 18 U.S.C. §§ 2251(a) and (e). He was

        subsequently indicted on April 25, 2012 by a Superseding Indictment charging 12

        counts of Production of Child Pornography in violation of 18 U.S.C. §§ 2251(a)

        and (e) and 1 count of Transportation of Child Pornography in violation of 18

        U.S.C. §§ 2252(a)(1) and 2252(b)(1). Counts 1 through 10 charged Production of

        Child Pornography involving Minor “A”. Counts 11 and 12 charged Production of

        Child Pornography involving Minor “B”. Count 13 charged Transportation of

        Child Pornography. On October 3, 2012, Mr. Dowell entered a plea of guilty to

        each count in the Indictment and the preparation of a Presentence Report was

        Ordered. On July 18, 2013, The Honorable Michael Urbanski sentenced Mr.

        Dowell to 960 months in prison as well as a variety of other conditions set forth in

        the Sentencing Order.




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                                    STATEMENT OF FACTS

              John Stuart Dowel was charged under a superseding indictment on April 25,

        2012. He subsequently entered a plea of guilty to 12 counts of production of child

        pornography in violation of 18 U.S.C. §§ 2251(a) and (e) and to 12 count of

        transportation of child pornography in violation of 18 U.S.C. §§ 2252(a)(1) and

        2252(b)(1). Mr. Dowell entered a plea of guilty to each count in the indictment on

        October 3, 2012. A Presentence Report was Ordered and Objections to the

        Presentence Report were filed by both the government and the defendant and such

        objections were incorporated into the Presentence Report. (J.A. 2 359-361) At the

        end of the sentencing hearing, the Honorable Judge Michael Urbanski sentenced

        Mr. Dowell to a total sentence of 960 months (80 years) in prison. (J.A. 2 324-331)

              In late 2010 and early 2011, the defendant, John Stuart Dowell, stayed at a

        residence in Frederick County, Virginia, where two young females, ages 3 and 5

        respectively, lived. Other family members resided there as well. (J.A. 2 336)

        While residing at the residence, Mr. Dowell recorded a number of videos that

        depicted him having sexual contact with the 3 year old female and also recorded

        several videos of the genitals of the 5 year old female. (J.A. 2 336) Mr. Dowell

        had downloaded these videos to his computer.

              In August 2011, the Bureau of Immigration and Customs Enforcement (ICE)

        was notified by Interpol that Danish Law Enforcement had downloaded sexually



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        explicit video clips depicting an adult male and a young female. (J.A. 2 336) At

        approximately the same time frame, a relative of Mr. Dowell who resided in

        Florida turned over a copy of at least some of the same video clips to the Federal

        Bureau of Investigation (FBI) and the relative identified the adult male in the video

        clips as Mr. Dowell. (J.A. 2 336-337) An arrest warrant had already been obtained

        under the name “John Doe” and on October 26, 2011, Mr. Dowell was arrested at

        his residence in California. (J.A. 2 337)

              The computer forensic examiner performed an examination of the computers

        found in Mr. Dowell’s residence and determined that there were over 78,000 visual

        depictions and 893 videos on the computers. (J.A. 2 337) A review of the videos

        showed a depiction of the 3 year old female involved in sex acts with Mr. Dowell.

        Various videos showed Mr. Dowell touching the stomach of the 3 year old female

        and included Mr. Dowell touching the 3 year old female in the genital area, as well

        as licking and kissing her vaginal and anus. (J.A. 2 337)

              The metadata from the videos was examined and it was determined that the

        videos were taken on various dates and times thus resulting in separate counts in

        the indictment. (J.A. 2 337) This evidence was presented in the Presentence

        Report and the Stipulation of Facts.

              At sentencing, a number of objections were made and addressed by the

        Court. The Presentence Report had applied a 2 point increase for the “Vulnerable



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        victim” enhancement under U.S.S.G. Section 3A1.1(b) for counts 1 through 10 and

        count 13. (J.A. 2 340, 341, 342, 343, 344, 345, 346 and 348) The defendant

        objected to the vulnerable victim enhancement. (J.A. 1 173)

              Also at sentencing, the defendant objected to the multiple counts of

        guidelines points under Section 2G2.2(b)(5) and Section 4B1.5(b)(1) of the United

        States Sentencing Guidelines. (J.A. 2 361) The Court found that due to the

        respective sections addressing different purposes and are meant to be applied

        cumulatively and therefore overruled the objection and applied the enhancements

        from both sections. (J.A. 1 176-177)

              The probation officer had also applied a 2 point enhancement for distribution

        of child pornography under U.S.S.G. Section 2G2(b)(3)(F). It was determined that

        there were a number of individual videos that were found on Mr. Dowell’s

        computer. At the sentencing proceeding, James Fottrell, the government’s

        computer forensic expert, testified that the file names for those videos were

        001.AVI, 002.AVI, 003.AVI, 004.AVI, 005.AVI, 006.AVI and 007.AVI. (J.A. 1

        119) Mr. Fottrell further testified that the file name of the compilation video that

        was turned over to the FBI by the relative of Mr. Dowell had a different filename

        than the individual videos. (J.A. 1 119) James Fottrell further testified that the file

        name of the compilation video had a file name of “file name.wmv”. (J.A. 1 119)




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              Based upon that evidence, the Court declined to apply the distribution

        enhancement stating that the United States had failed to prove that Mr. Dowell had

        uploaded any videos to the internet. (J.A. 1 174-175)

                                   SUMMARY OF ARGUMENT

        Argument I         John Stuart Dowell was sentence to a term of 960 months or 80
                           years by the Honorable Judge Michael Urbanski. Mr. Dowell
                           has no prior criminal history whatever. The Eighth
                           Amendment to the United States Constitution prohibits
                           sentencing a person to such an extent that it constitutes cruel
                           and unusual punishment. The appellant submits that a sentence
                           of 960 months or 80 years for a person with absolutely no prior
                           criminal history constitutes cruel and unusual punishment under
                           the Eighth Amendment.

        Argument II        18 U.S.C. § 3553 sets forth the factors that a sentencing Judge
                           is required to consider prior to issuing a sentence for a crime.
                           The factors set forth in § 3553 provide the basis for a sentence
                           that is reasonable. The appellant contends that a sentence of
                           960 months or 80 years is not a reasonable sentence taking into
                           account all the factors of § 3553.

        Argument III       The Court applied a double counting technique which increased
                           the guidelines calculation by a 5 points § 2G2.2(b)(5) and an
                           additional 5 points under § 4B2.5(5)(1) thereby giving a
                           cumulative point increase in the Base Offense Level a total 10
                           point enhancement. The Appellant submits that the Court
                           should review the double counting technique to obtain a
                           reasonable calculation of the United States Sentencing
                           Guidelines.




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        Argument IV         The district court applied a 4 point enhancement under
                            § 2G2.1(b)(1)(A) for Counts 1 through 10 of the Indictment and
                            a 2 point enhancement under § 2G2.2(b)(2). The Court went on
                            to apply an additional enhancement for the victim being a
                            “vulnerable victim” under § 3A1.1(b)(1). The Application
                            Notes specifically do not allow application of the “vulnerable
                            victim” enhancement where an enhancement has already been
                            provided for in Section 2 of the guidelines. The appellant
                            submits that it was error to apply both enhancements.

                                     STANDARD OF REVIEW

              Whether a sentence is constitutionally proportional under the Eighth

        Amendment is reviewed de novo. U.S. v. Myers, 280 F.3d 407, 416 (4th Cir. 2002)

        A threshold question, whether proportionality review is available for sentences

        other than life imprisonment, is a question of law because it seeks to determine the

        availability of a constitutional right. Therefore, it is also reviewed de novo. See

        U.S. v. Malloy, 568 F.3d 166, 180 (4th Cir. 2009)(citing U.S. v. Myers, 280 F.3d

        407, 416 (4th Cir. 2002)

              The reasonableness of a sentence is reviewed under the abuse of discretion

        standard regardless of whether the sentence imposed is inside or outside the

        guideline range. Gall v. U.S., 552 U.S. 38 (2007); U.S. v. Evans, 526 F.3d 155, 161

        (4th Cir. 2008). The mandate of the district court is to “impose a sentence

        sufficient, but not greater than necessary to comply with the purposes” of

        sentencing. Section 18 U.S.C. § 3553(a). In evaluating challenges to a sentence,

        this Court reviews the district court’s factual findings for “clear error”. U.S. v.



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        Alvarado-Perez, 609 F.3d 609, 612 (4th Cir. 2010) In U.S. v. Hudson, 272 F.3d

        260, 263 (4th Cir. 2001) the Court states, “We review the district court’s factual

        findings for clear error, but if the issue on review ‘turns primarily on the legal

        interpretation of a guideline term, . . . the standard moves closer to de novo

        review.’” Quoting U.S. v. Daughtrey, 874 F.2d 213, 217 (4th Cir. 1989)

                                            ARGUMENT

              The Imposition of a Sentence of 960 months or 80 years, constitutes cruel

        and unusual punishment and violates the Eighth Amendment to the U.S.

        Constitution.

              This Court has held that proportionality review under the Eighth

        Amendments cruel and unusual punishment clause is not available to any sentence

        that is less than life in prison without parole. Malloy, 568 F.3d at 180.

        (proportionality review of 15 year child pornography sentence unavailable) U.S. v.

        Whitehead, 849 F.2d 849, 860 (1988). This Court should review Mr. Dowell’s

        sentence under the proportionality review standard as a result of the fact that his

        sentence would place him at 127 years old if released from prison.

              Mr. Dowell’s 80 year (960 month) federal prison sentence will keep him in

        prison for the rest of his life. Such a lengthy, parole ineligible sentence runs afoul

        of the principle that life sentences should not be imposed lightly, unreviewably, or

        for other than life-punishable offenses, as it represents courts’ “making the



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        judgment at the outset” that a defendant “never will be fit to reenter society.”

        Graham v. Florida, 130 S. Ct. 2011, 2030 (2010). Furthermore, it deprives Mr.

        Dowell of “some meaningful opportunity to obtain release based on demonstrated

        maturity and rehabilitation.” Id.

              The Court sentenced Mr. Dowell to a term of 80 years in prison. The

        defense submits that this constitutes, for all intents and purposes, a life sentence for

        Mr. Dowell and is eligible for this Courts proportionality review. Judge Michael

        Urbanski found that a sentence of 80 years (960 months) was a “life” sentence as

        such a sentence would give Mr. Dowell a sentence where he would not be eligible

        for release until he was approximately 127 years old. (J.A. 1 315) As the sentence

        is unquestionably a life sentence, proportionality review is appropriate.

              In U.S. v. Rhodes, 779 F.2d 1019 (4th Cir. 1985), the defendant was charged

        with multiple counts of marijuana distribution. He received a total sentence of 50

        years. Rhodes argued that his sentence was a de facto life sentence without the

        probability of parole under Solem v. Helm, 463 U.S. 277, 103 S. Ct. 3001 (1983)

        Rhodes at 1026.

              In Solem v. Helm, “the Supreme Court declared unconstitutional a sentence

        of life imprisonment without the possibility of parole and, in so doing, set forth a

        three-part test involving ‘objective factors’ to use in reviewing the proportionality

        of sentences under the Eighth Amendment.” 463 U.S. at 290-303.



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              The factors set forth by the Supreme Court are: “(i) the gravity of the offense

        and the harshness of the penalty; (ii) the sentences imposed on other criminals in

        the same jurisdiction; and (iii) the sentences imposed for commission of the same

        crime in other jurisdictions.” Solem, 463 U.S. at 292.

              In reviewing the gravity of the offense, there are several hallmarks that the

        Court should consider. Was there violence involved in the instant offenses? The

        appellant does concede that what he did was a horrible act against a very young

        child; however, the child was never placed in any danger. She was not physically

        injured in any way, shape, or form. Although there was touching, kissing and

        licking of the vaginal and anus, there was never any penetration of the vagina or

        anus. Was Mr. Dowell attempting to promote violence through his actions? The

        answer is an emphatic no. Mr. Dowell, in fact, never promoted violence against

        anyone.

              In reviewing the first element set forth in Solem, the appellant submits that

        the sentence of 960 months or 80 years is grossly disproportionate to the crimes he

        committed. As the Court looks at the record and with no violent acts is grossly

        disproportionate to the crime.

              The second and third factors set forth in Solem deal with similar crimes in

        other jurisdictions and sentences for other crimes in the same jurisdiction. The

        first inquiry yields remarkable results concerning sentences with the jurisdiction



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        for other crimes and the potential sentences for other crimes. What is notable is

        that many more heinous crimes than that which the appellant was convicted carry

        no mandatory minimum sentence. The chart below shows just how extreme the

        guidelines are for child pornography offenses.

        CODE SECTION                 TITLE OF OFFENSE             SENTENCE RANGE
        18 U.S.C. § 32               Placing destructive device   0-20
                                     on airplane
        18 U.S.C. § 36               Firing Weapon into group     0-20
                                     in further of or to escape
                                     detection of a major drug
                                     offense
        18 U.S.C. § 37               Destroying an Airport        0-20
        18 U.S.C. § 114              Cutting out eye or tongue    0-20
                                     with intent to torture
        18 U.S.C. § 116              Mutilating female genitals   0-5
                                     of person under age 18
        18 U.S.C. § 231(a)(1)        Impeding Firemen during      0-5
                                     Civil Disorder
        18 U.S.C. § 552              US Officer aiding            0-10
                                     importation of obscene or
                                     treasonous material
        18 U.S.C. § 793              Taking material              0-10
                                     respecting national
                                     defense with intent to
                                     injure the United States
        18 U.S.C. § 842              Distributing explosives to   0-10
                                     a fugitive
        18 U.S.C. § 871              Threatening the President    0-5
        18 U.S.C. § 1112             Involuntary Manslaughter     0-15
        18 U.S.C. § 1581             Sale of another into         0-20
                                     involuntary servitude
        18 U.S.C. § 1589             Obtaining the labor of       0-20
                                     another by threats of
                                     serious harm



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        18 U.S.C. § 1951             Obstructing commerce by       0-20
                                     robbery, extortion, or
                                     committing violence
        18 U.S.C. § 2113             Bank Robbery                  0-20
        18 U.S.C. § 2192             Inciting Mutiny               0-5
        18 U.S.C. § 2291             Setting fire or destroying    0-20
                                     a maritime facility or
                                     performing an act of
                                     violence near a passenger
                                     vessel
        18 U.S.C. § 2232(a)          Using weapons of mass         0-Life
                                     destruction
        18 U.S.C. § 2339A            Providing material            0-15
                                     support to terrorists
        18 U.S.C. § 2441             War crimes, including         0-Life
                                     torture, biological
                                     experimentation,
                                     mutilation or rape

              Although genocide, child genital mutilation and war crimes carry available

        sentences less than production of child pornography, a serious question is raised by

        the mandate of minimum sentences set forth in child pornography production and

        transportation cases. In this case, the district determined that the applicable

        guideline range of 960 months or 80 years was appropriate. With the appellant

        being 47 at the time of sentencing, the term effectively is life in prison as Mr.

        Dowell would only be eligible for release when he is 127 years old. The appellant

        submits that this constitutes cruel and unusual punishment under the Eighth

        Amendment to the United States Constitution.

              In addressing the second element set forth in Solem does indicate the grossly

        disproportionate nature of an 80 year or 960 month sentence. The national average

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        sentence for child pornography crimes is 132 months. The specific statistics were

        in the 4th Circuit statistical analysis. The median child pornography sentence was

        92 months. The total number of cases was 1,972. http://www.ussc.gov/Data_and_

        Statistics/Federal_Sentencing_Statistics/State_District_Circuit/2012/index.cfm

               It is apparent that Mr. Dowell’s’ sentence of 80 years or 960 months was

        over seven (7) times the national average sentence for child pornography

        sentences. It is over ten (10) times as long as the national median for child

        pornography sentences.

               Although the facts in Mr. Dowell’s case may indicate that a sentence above

        the national average, counsel submits that a sentence of more than seven (7) times

        the national average is grossly disproportionate.

               In reviewing the third element of Solem, it is also apparent that the sentence

        of Mr. Dowell was excessive and grossly disproportionate. Below is a list of the

        top ten (10) sentence averages including the types of crimes and the number of

        cases in the 4th Circuit.

           CHARGE                    AVERAGE SENTENCE            # OF PEOPLE CHARGED
        Kidnapping/hostage                389 months                        4
        taking
        Murder                               253 months                         9
        National Defense                     187 months                         8
        Sexual abuse                         146 months                        33
        Child pornography                    124 months                       200
        Firearms                             117 months                       1028
        Robbery                              101 months                        80


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        Arson                                96 months                        7
        Drug Trafficking                     96 months                      2,084
        Racketeering/Extortion               89 months                       117

        http://www.ussc.gov/Data_and_Statistics/Federal_Sentencing_Statistics/State_Dist
        rict_Circuit/2012/index.cfm

              It is shockingly apparent from looking at the average of the most serious

        crimes for 2012 in the 4th Circuit that child pornography sentences are among the

        highest average sentences. It is also shockingly apparent that the appellant’s

        sentence of 960 months is grossly disproportionate to the absolute worst crimes

        that exist. Mr. Dowell’s sentence is almost two (2) and a half times the average for

        the highest average sentences given for kidnapping and hostage taking in 2012.

        His sentence is more than three (3) and a half times the average sentence for

        murder.

              Based upon the foregoing statistics, the appellant submits that a sentence of

        960 months or 80 years is grossly disproportionate to the crimes committed, do

        constitute cruel and unusual punishment and are in violation of the 8th Amendment

        to the United States Constitution.

                  STANDARD OF REVIEW FOR ARGUMENTS II, III, AND IV

              The reasonableness of a sentence is reviewed under the abuse of discretion

        standard regardless of whether the sentence imposed is inside or outside the

        guideline range. Gall v. U.S., 552 U.S. 38 (2007); U.S. v. Evans, 526 F.3d 155, 161

        (4th Cir. 2008). The mandate of the district court is to “impose a sentence

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        sufficient, but not greater than necessary to comply with the purposes” of

        sentencing. Section 18 U.S.C. § 3553(a). In evaluating challenges to a sentence,

        this Court reviews the district court’s factual findings for “clear error”. U.S. v.

        Alvarado-Perez, 609 F.3d 609, 612 (4th Cir. 2010) In U.S. v. Hudson, 272 F.3d

        260, 263 (4th Cir. 2001) the Court states, “We review the district court’s factual

        findings for clear error, but if the issue on review ‘turns primarily on the legal

        interpretation of a guideline term, . . . the standard moves closer to de novo

        review.’” Quoting U.S. v. Daughtrey, 874 F.2d 213, 217 (4th Cir. 1989)

                                           ARGUMENT II

              The Imposition of a sentence or 960 months or 80 years for a first offense

        failed to comply with the objectives of the Federal Sentencing Statute.

              Section 18 U.S.C. § 3553(a) sets forth the factors that the district court is

        required to address when sentencing any defendant. § 3553(a) mandates that

        district court shall give a sentence that is “sufficient but not greater than necessary”

        to accomplish the goals of § 3553. The Supreme Court set forth in U.S. v. Booker,

        125 S. Ct. 738 (2005) that the standard by which the district court should sentence

        a defendant is one of reasonableness. Booker, 125 S. Ct. at 765, 766.

              Section 3553(a), the federal sentencing statute, imposes a number of guides

        on sentencing courts that, correctly applied, show that a sentence of 80 years (960

        months) in this non-homicide case is unreasonable.



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        18 U.S.C. § 3553(a) provides:

              (a)    Factors To Be Considered in Imposing a Sentence.— The court
                     shall impose a sentence sufficient, but not greater than
                     necessary, to comply with the purposes set forth in paragraph
                     (2) of this subsection. The court, in determining the particular
                     sentence to be imposed, shall consider—
                     (1) the nature and circumstances of the offense and the
                            history and characteristics of the defendant;
                     (2) The need for the sentence imposed—
                            (A) to reflect the seriousness of the offense, to promote
                                   respect for the law, and to provide just punishment
                                   for the offense;
                            (B) to afford adequate deterrence to criminal conduct;
                            (C) to protect the public from further crimes of the
                                   defendant; and
                            (D) to provide the defendant with needed educational
                                   or vocational training, medical care, or other
                                   correctional treatment in the most effective
                                   manner;
                     (3) the kinds of sentences available;
                     (4) and (5) [the sentencing guidelines and policy statements]
                     (6) the need to avoid unwarranted sentence disparities among
                            defendants with similar records who have been found
                            guilty of similar conduct; and
                     (7) the need to provide restitution to any victims of the
                            offense.

              First, the statute requires imposition of a sentence “sufficient, but not greater

        than necessary” in every case. It would be difficult to imagine a situation in which

        a sentence of 80 years (960 months) for a first offender is “not greater than

        necessary.” Despite the serious nature of Mr. Dowell’s offense, in order to

        conclude that 80 years was not greater than necessary, the sentencing court would

        have to find that 70 years was not enough. It would also have to find that 60 years



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        was not enough, or that 50 years was not enough. In a non-homicide case, this

        would be difficult to imagine so heinous as to consider a sentence of 80 years (960

        months) as reasonable particularly with a defendant of 47 years of age.

              See Section 3553(a)(2) additionally requires consideration of the need for

        specific and general deterrence. Research generally has shown that “increases in

        the certainty of punishment, as opposed to the severity of punishment, are more

        likely to produce deterrent benefits.” Valerie Wright, Deterrence in Criminal

        Justice: Evaluating Certainty vs. Severity of Punishment, THE SENTENCING

        PROJECT (Nov. 2010) at 6-7 (hereinafter “Deterrence Study”) (noting a study that

        found that longer prison sentences achieved only a three percent reduction in

        recidivism).

              Several factors undermine the premise that the length of a sentence achieves

        deterrence. First, would-be offenders often do not act rationally when they commit

        a crime. They do not engage in a cost-benefit analysis of their actions before

        deciding whether to proceed. Id. at 2. Second, an offender who believes he will not

        be caught typically is not going to be deterred by the severity of the punishment.

        Id. Third, in situations where an offender does consider the potential sanction for

        his conduct, he usually underestimates its severity. Id. at 3.

              It is important to note that although the length of Mr. Dowell’s sentence

        likely will have no effect on general deterrence, the fact that he was sentenced at



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        all will. According to the Deterrence Study, by arresting, prosecuting, and

        sentencing Mr. Dowell, the goal of general deterrence has already been achieved,

        regardless of the length of the sentence.

              Section 3553(a)(6) also requires courts to consider “the need to avoid

        unwarranted sentence disparities among defendants with similar records who have

        been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). For all the reasons

        that counsel submits that this sentence is constitutionally cruel and unusual,

        including the data contained in the two charts contained in this brief, this sentence

        objective is not met, and indeed is undermined, by a sentence of 80 years (960

        months), even if such a sentence is technically within the federal sentencing

        guidelines.

              Mr. Dowell’s sentence, and sentencing guidelines, were heavily influenced

        by charging decisions by the government that appear atypical and resulted in a

        guideline range that was objectively unreasonable. The length of the ensuing

        sentence demonstrates that the government retains an undue ability to make an

        unreasonable sentence appear legally reasonable. Two cases contrasting Mr.

        Dowell’s illustrate this point.

              In United States v. Crandon, 173 F.3d 122 (3d Cir. 1999), the defendant pled

        guilty to receipt of child pornography, even though he was, by the facts of that

        case, guilty of production. The facts showed that Crandon contacted a 14 year old,



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        had sexual contact with her, and took pictures of her performing oral sex on him.

        Id. at 125. Later Crandon contacted the girl, picked her up in Minnesota, and began

        transporting her to his home in New Jersey before he had to abandon his plans

        because the police were searching for them. Id. Crandon received a 78 month

        sentence and three years of supervised release. Id.

              In United States v. Irey, 612 F.3d 1160 (11th Cir. 2010) (en banc), the

        government charged Irey with one count of production of child pornography. The

        facts of the case revealed that over a number of years Irey had frequently traveled

        to Cambodia where he raped more than 50 girls ages four through six, filmed the

        rapes, and distributed the films. Id. at 1220. The district court varied downward,

        but the court of appeals reversed and directed that a sentence within the guidelines

        range of 30 years, which was also the statutory maximum, be imposed. Id. at 1225.

              Although Irey actually did rape children, and there were many more than

        one, the government in that case allowed Irey to plead to a single count of receipt

        of child pornography, resulting in guidelines that were one-quarter of what Mr.

        Dowell faced at sentencing. This disparity was not caused by a variance from the

        guidelines or a sentencing judge faithfully adhering to the factors in § 3553(a).

        The disparity results solely from prosecutorial discretion in electing what charges

        to bring against someone and what terms the government will offer in a plea




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        agreement. Crandon and Irey show that the sentences of similar, and more

        egregious, offenses to Mr. Dowell’s vary considerably.

              The appellant submits that an effective sentence of life in prison does not

        constitute a “reasonable” sentence. As is noted above in the table of charges and

        sentence ranges, with no violence involved and no physical injury to anyone, Mr.

        Dowell’s sentence is simply unreasonable. As a society, we reserve the sentence

        of life for the most violent and heinous of crimes. The facts of this case simply do

        not provide the basis for a sentence of life in prison.

                                           ARGUMENT III

              Whether the imposition of a 5 point enhancement for U.S.S.G. § 2G2.2(b)(5)

        and an additional 5 point enhancement under U.S.S.G. § 4B1.5(b)(1) constitutes

        impermissible double counting under the guidelines?

              The Appellant objected to the double counting technique to effectively

        punish him for the exact same acts for each of the sections. Each section deals

        with the exact same course of conduct and effectively gives a 10 point

        enhancement as both deal with the same production counts and transportation

        count. Therefore, the appellant states that it is impermissible double counting to

        add both 5 point enhancements.




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                                          ARGUMENT IV

              Whether the imposition of a 2 point enhancement for a vulnerable victim

        under § 3A1.1(b)(1) is impermissible when a 4 point enhancement has already

        been applied under § 2G2.1(b)(1)(A) and a 2 point enhancement has already been

        applied for Court 13 under Section 2G2.2(b)(2)?

              The district court applied a 2 point enhancement on the Sentencing

        Guidelines under § 3A1.1(b)(1) of the U.S.S.G. and also applied a 4 point

        enhancement for Counts 1 through 10 under § 2G2.1(b)(1)(A) and a 2 point

        enhancement for County 13 under § 2G2.2(b)(2). § 2G2.1 covers charges set forth

        under 18 U.S.C. § 2251 which is the applicable guideline for Production of Child

        Pornography. § 2G2.2 covers charges under 18 U.S.C. § 2252 which is the

        applicable guideline for Transportation of Child Pornography. The district court

        calculated the guidelines using the appropriate enhancement under each of these

        guidelines. However, the district court went on to apply an additional

        enhancement under § 3A1.1(b)(1) which is the 2 point enhancement for a

        “vulnerable victim”.

              Chapter 3 of the guidelines deals with adjustments and Part A deals with

        Victim Related enhancements. The Commentary to Chapter 3 Part A sets forth in

        Application Note 2 when the “Vulnerable Victim” enhancement should not be

        applied. It reads in pertinent part: “Do not apply subsection (b) if the factor that



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        makes the person a vulnerable victim is incorporated in the offense guideline. For

        example, if the offense guideline provides for an enhancement for the age of the

        victim, this subsection would not be applied unless the victim is unusually

        vulnerable for reasons unrelated to age.” Here the district court applied an

        enhancement that the guidelines specifically state should not be added.

              The district court followed the reasoning in U.S. v. Jenkins, 712 F.3d 209

        (5th Cir. 2013). In Jenkins, the Court ruled that the vulnerable child enhancement

        could be applied in cases where the child was very young. Jenkins at 213. In

        following Jenkins, the district court reasoned that there is no reason the

        enhancement under § 3A1.1(b)(1) should not be applied where the victim is

        especially vulnerable due to infancy or being a toddler.

              The appellant states that this reasoning is flawed in one very important way.

        In drafting the guidelines, the Sentencing Commission choose ages 12 and under

        for apply a 4 point enhancement under § 2G2.1(b)(1)(A) and a 2 point

        enhancement under § 2G2.2(b)(2). The Sentencing Commission did specifically

        state that the “vulnerable victim” guideline would not apply, thereby eliminating a

        double counting of points for the exact same fact. Had the Sentencing

        Commission wished to differentiate between a very young child as opposed to a

        child 12 and under, it would have made a differentiation in the guidelines to

        account for toddlers or infants. The Sentencing Commission made no such



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        differentiation in that guideline. All that would have been required is to add an

        extra subsection that provided for an additional enhancement for a child under age

        5. It did not create such a subsection.

              Instead, the Sentencing Commission specifically put a provision in the

        Application Notes stating: “this subsection would be applied unless the victim is

        unusually vulnerable for reasons unrelated to age.” U.S.S.G. 3A Application

        Note 2 (emphasis added) In applying the additional 2 points, the district court

        rewrote the guidelines provision dealing with younger children.

              Therefore, the appellant submits that, had the Sentencing Commission

        wished to have a separate vulnerable victim provision for children in the infancy or

        toddler state, it would have either added another subsection to § 2G2.1(b)(1)(A)

        and § 2G2.2(b)(2) and added the points there or would have changed the

        Application Note to state that the enhancement for “Vulnerable Victim” would

        apply where the child is under 5 years old.

              The appellant submits that the 2 point enhancement under § 3A1.1(b)(1) is

        improper and that the district court improperly calculated the guidelines by

        applying the enhancement.




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                                          CONCLUSION

              Based upon the foregoing argument, the Appellant requests that this Court

        vacate the sentence of the district court and remand the case for re-sentencing and

        remand for a reasonable proportionate sentence.

                                                      Respectfully Submitted,

                                                      /s/ R. Darren Bostic
                                                      Counsel for John Stuart Dowell


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                              REQUEST FOR ORAL ARGUMENT

              Counsel for appellant asserts that the issues raised in this brief may be more

        fully developed through oral argument, and respectfully requests oral argument.

                                                      /s/ R. Darren Bostic
                                                      Counsel for John Stuart Dowell




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                               CERTIFICATE OF COMPLIANCE

        1.    This brief complies with the type-volume limitation of Fed. R. App. P.
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        Dated: November 22, 2013               /s/ R. Darren Bostic
                                               Counsel for Appellant
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                           CERTIFICATE OF FILING AND SERVICE

              I hereby certify that on this 22nd day of November, 2013, I caused this Brief

        of Appellant and Joint Appendix to be filed electronically with the Clerk of the

        Court using the CM/ECF System, which will send notice of such filing to the

        following registered CM/ECF users:

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              I further certify that on this 22nd day of November, 2013, I caused the

        required copies of the Brief of Appellant and Joint Appendix to be hand filed with

        the Clerk of the Court and a copy of the Sealed Volume of the Joint Appendix to

        be served, via UPS Ground Transportation, upon counsel for the Appellee, at the

        above address.

                                                     /s/ R. Darren Bostic
                                                     Counsel for Appellant
